Case 18-22760-GLT            Doc 53       Filed 12/14/18 Entered 12/14/18 10:58:22               Desc Main
                                          Document     Page 1 of 4


                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE:                                           : Bankruptcy No. 18-22760-GLT
                                                  :
    CRAIG LIPINSKI                                : Chapter 7
                                                  :
                             Debtor               : Document No. ______
                                                  :
    JEFFREY J. SIKIRICA, TRUSTEE                  :
                                                  :
                             Movant               :
                                                  :
       v.                                         :
                                                  :
    No Respondent(s)                              :


                  TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL REAL
                 ESTATE SERVICES AND CORE REALTY, LLC TO PROCURE
             CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

        Jeffrey J. Sikirica, Esquire, Chapter 7 Trustee (the “Trustee”) for the above referenced debtor(s) (the

“Debtor”), by and through his undersigned counsel, files this Application for entry of an order authorizing the

retention of BK Global Real Estate Services (“BKRES”) under the terms set forth in the agreement between

BKRES and the Trustee (the “BKRES Agreement”) and Core Realty, LLC (“Listing Agent”) under the terms

of the agreement between Listing Agent and the Trustee (the “Listing Agreement”). In support thereof, the

Trustee respectfully states as follows:

                                               JURISDICTION

        1.   This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (N), and (O).

        2.   Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

                                               BACKGROUND

        3.   On July 9, 2018, the Debtor commenced this case by filing a voluntary petition for relief under

Chapter 7 of the United States Bankruptcy Code.
Case 18-22760-GLT              Doc 53      Filed 12/14/18 Entered 12/14/18 10:58:22                     Desc Main
                                           Document     Page 2 of 4



        4.    On July 10, 2018, Jeffrey J. Sikirica was appointed as Chapter 7 trustee and has been so serving.

        5.    The Debtor is the owner of real property located at 8437 Papelon Way, Jackonville, FL 33217

(the “Property”). The Debtor has been sentenced and incarcerated and he has indicated to the Trustee his

intention to abandon the Property.

        6.    The Debtor has no equity in the Property. The Debtor’s schedules reflect that the Property is

currently worth $300,000.00, but is subject to a first mortgage lien (the “Senior Mortgage”) in favor of Seterus,

Inc. (the “Secured Creditor”) in the amount of $435,650.00.

        7.    The Trustee, after reviewing certain materials, including (without limitation) the BK Score™1,

sales analysis report and opinion of value for the Property provided by BKRES and Listing Agent, has

determined it to be in the best interest of the Debtor’s estate and all creditors to negotiate to obtain Secured

Creditor’s agreement and consent (“Consent”) to:

                 a. sell the Property to whichever third party the Trustee determines to have made the best

        qualified offer during a public sale approved by the Court;

                 b. buy the Property from the Debtor’s estate if (and only if) no such offer is made;

                 c. release the Senior Mortgage and otherwise waive all of its claims against the estate with

        respect to the Property (including any deficiency claims resulting from the proposed sale); and

                 d. If the Property is sold to a third party, agree to a 11 U.S.C. § 506 surcharge to pay all the

        expenses associated with the proposed sale, including the payment of a 6% real estate brokerage

        commission to BKRES and Listing Agent and reimbursement of their out-of-pocket expenses, and

        provide a carveout for the benefit of allowed unsecured creditors of the Debtor’s estate;

                 e. if Secured Creditor purchases property, agree to a 11 U.S.C. § 506 surcharge to pay all the

        expenses associated with the proposed sale, including the payment of a 2% real estate brokerage

        commission to BKRES, of which a $500.00 fee will be paid to Listing Agent, and provide a carveout

        for the benefit of allowed unsecured creditors of the Debtor’s estate.



1
  The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property attributes in
order to consistently measure sales confidence and predict market value.
    Case 18-22760-GLT          Doc 53      Filed 12/14/18 Entered 12/14/18 10:58:22                     Desc Main
                                           Document     Page 3 of 4


         8.   By this Application, the Trustee requests authority pursuant to Sections 327, 328(a) and 330 of

the Bankruptcy Code to (a) retain BKRES and Listing Agent to procure Secured Creditor’s Consent, and

(b) approve Secured Creditor’s payment of the fees described below directly to BKRES, Listing Agent and

any agent for the buyer that may participate in the sale at closing of the sale of the Property, if and when the

Consent and a separate motion seeking an order approving the sale of the Property (the “Motion to Approve

Sale”) are granted.

                                                   APPLICATION

         9.   Section 328(a) of the Bankruptcy Code provides, in relevant part, that a trustee “with the court’s

approval, may employ or authorize the employment of a professional person under section 327...on any

reasonable terms and conditions of employment, including on a retainer, on an hourly basis, on a fixed

percentage or fee basis, or on a contingent fee basis.” 11 U.S.C. § 328(a). Section 330 of the Bankruptcy

Code permits the Court to “award to a trustee… or a professional person employed under section

327…(A) reasonable compensation for actual, necessary services rendered [by such party]…and

(B) reimbursement for actual, necessary expenses.” 11 U.S.C. § 330(a)(1).

         10. The Trustee believes that the highest and best value for the Property will be generated through a

sale in which the Property is widely marketed to the public and offered at the highest price that the market will

bear. The Trustee further believes that such a sale is in the best interest of the Debtor’s estate, but can only be

achieved if Secured Creditor’s Consent is first obtained. The Trustee therefore believes that retaining BKRES2

and Listing Agent to obtain Secured Creditor’s Consent and market the Property is in the best interests of the

Debtor’s estate.

         11. In no event will the estate have any obligation to pay BKRES or Listing Agent. The terms of the

BKRES Agreement and Listing Agreement provide that BKRES and Listing Agent are only entitled to

payment if and when (a) Secured Creditor grants its Consent, (b) the Motion to Approve Sale is granted and

(c) the Property is sold, in which event BKRES, Listing Agent and any agent for the buyer that may participate


2
  BKRES has extensive experience obtaining the consent and agreement of mortgages lenders and servicers to the sale of
their collateral and resolution of any resulting unsecured claims in order to produce a recovery for estates from over-
encumbered assets in which the estate has no equity and is the broker affiliate of BK Global (http://www.bkginc.com/).
Case 18-22760-GLT           Doc 53      Filed 12/14/18 Entered 12/14/18 10:58:22                Desc Main
                                        Document     Page 4 of 4


in the sale will receive and share a real estate brokerage commission at closing in accordance with the order

approving the sale.

        12. The Trustee submits that the terms of employment and compensation as set out in the BKRES

Agreement and Listing Agreement are reasonable in light of the extensive experience of BKRES and Listing

Agent and the nature of the services they provide. Attached hereto as Exhibit A and Exhibit B, respectively,

are the BKRES Agreement and the Listing Agreement.

        13. BKRES has attested that it is a disinterested person within the meaning of Section 101(14) of the

Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and 2016(a). Attached hereto as Exhibit C

is an Affidavit of Disinterestedness of BKRES.

        14. Listing Agent has attested that it is a disinterested person within the meaning of Section 101(14)

of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and 2016(a). Attached hereto as

Exhibit D is an Affidavit of Disinterestedness of Listing Agent.

                                                 CONCLUSION

        WHEREFORE, for the foregoing and all other necessary and proper purposes, the Trustee seeks the

Court’s authority to retain BKRES and Listing Agent in this case, and requests that the Court approve the

compensation arrangements set forth in the BKRES Agreement and Listing Agreement pursuant to Sections

327, 328(a) and 330 of the Bankruptcy Code.



Dated: December 14, 2018                                  Respectfully submitted,

                                                          /s/ Jeffrey J. Sikirica
                                                          Jeffrey J. Sikirica, Esquire
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